         Case 1:25-cv-02995-RML                     Document 4          Filed 05/30/25     Page 1 of 3 PageID #: 32

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

  DAVID SORIANO and MARCO ANTONIO ROJAS                             )
   MARTINEZ, individually and on behalf of others                   )
               similarly situated,                                  )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
       8102 FOOD CORP. (D/B/A BROOKLYN                                      Civil Action No.    25-cv-2995
      HARVEST OF BAY RIDGE), MAHMOUD M.                             )
       ELAYYAN, DANIEL J. WODZENSKI, and                            )
                 MARK LEWIS,                                        )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           See attached rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Michael Faillace
                                       Michael Faillace & Associates, P.C.
                                       60 East 42nd Street, Suite 4510
                                       New York, New York 10165


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                               CLERK OF COURT

             5/30/2025
Date:
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                           X
DAVID SORIANO and MARCO
ANTONIO ROJAS MARTINEZ,
individually and on behalf of others                    Index No.
similarly situated,
                                                        RIDER TO REQUEST FOR
                                                        SUMMONS
Plaintiffs,

-against-

8102 FOOD CORP. (D/B/A BROOKLYN
HARVEST OF BAY RIDGE),
MAHMOUD M. ELAYYAN, DANIEL J.
WODZENSKI, and MARK LEWIS,

Defendants.
                                               X

8102 Food Corp (d/b/a Brooklyn Harvest of Bay Ridge)
852 McDonald Avenue
Brooklyn, NY 11218

Mahmoud M. Elayyan
852 McDonald Avenue
Brooklyn, NY 11218

Daniel J. Wodzenski
852 McDonald Avenue
Brooklyn, NY 11218

Mark Lewis
852 McDonald Avenue
Brooklyn, NY 11218
